Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-17 Filed04/28/17
                                309-3 Filed 06/12/17 Page
                                                     Page11of
                                                            of12
                                                               12




                 EXHIBIT 3
Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-17 Filed04/28/17
                                309-3 Filed 06/12/17 Page
                                                     Page22of
                                                            of12
                                                               12
Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-17 Filed04/28/17
                                309-3 Filed 06/12/17 Page
                                                     Page33of
                                                            of12
                                                               12
Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-17 Filed04/28/17
                                309-3 Filed 06/12/17 Page
                                                     Page44of
                                                            of12
                                                               12
Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-17 Filed04/28/17
                                309-3 Filed 06/12/17 Page
                                                     Page55of
                                                            of12
                                                               12
Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-17 Filed04/28/17
                                309-3 Filed 06/12/17 Page
                                                     Page66of
                                                            of12
                                                               12
Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-17 Filed04/28/17
                                309-3 Filed 06/12/17 Page
                                                     Page77of
                                                            of12
                                                               12
Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-17 Filed04/28/17
                                309-3 Filed 06/12/17 Page
                                                     Page88of
                                                            of12
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Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-17 Filed04/28/17
                                309-3 Filed 06/12/17 Page
                                                     Page99of
                                                            of12
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Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-17 Filed04/28/17
                                309-3 Filed 06/12/17 Page
                                                     Page10
                                                          10of
                                                            of12
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Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-17 Filed04/28/17
                                309-3 Filed 06/12/17 Page
                                                     Page11
                                                          11of
                                                            of12
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Case3:17-cv-00939-WHA
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                       Document589-17 Filed04/28/17
                                309-3 Filed 06/12/17 Page
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                                                          12of
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